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                                         ORDERED.



 Dated: August 13, 2021




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

In re:                                                    Case No. 8:21-bk-00038-MGW
                                                          Chapter 7
Carrin Denise James,

      Debtor(s).
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            ORDER SUSTAINING TRUSTEE'S OBJECTION TO CLAIM NO. 2

         THIS CASE came on for consideration on the Trustee’s Objection to Claim No. 2 (Doc.

No. 27, hereinafter Objection) which was served upon all interested parties with the Local Rule

2002-4 negative notice legend informing the parties of their opportunity to object within 30 days

of the date of service. No party filed an objection within the time permitted, and the Court

therefore considers the matter to be unopposed. The Court has considered the Objection,

together with the record, and finds that it should be sustained. Accordingly, it is

         ORDERED that the Objection is sustained. Claim No. 2 filed by Mercedes-Benz

Financial Services USA LLC is disallowed.


Trustee Christine L. Herendeen is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within 3 days of entry of the order.
